           Case 6:14-cv-01424-MC         Document 97    Filed 01/29/21     Page 1 of 8




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                                  UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                        EUGENE DIVISION




THE UNITED STATES OF AMERICA, ex                               Case No.: 6:14-cv-01424-MC
rel. MICHAEL T. BROOKS,
                                                        DEFENDANTS’ COMBINED
                       Relator,                  RESPONSE TO RELATOR’S MOTION
                                                      TO SEAL, MOTION FOR NEW
         v.                                        TRIAL, MOTION TO DISQUALIFY
                                                  DEFENSE COUNSEL, AND MOTION
TRILLIUM COMMUNITY HEALTH                                    TO ORDER FEDERAL
PLAN, INC.; AGATE RESOURCES, INC.;                               INVESTIGATION
and LANE INDIVIDUAL PRACTICE
ASSOCIATION, INC.,

                       Defendants.


                                        I. INTRODUCTION

         On December 22, 2020 defendants Trillium Community Health Plan, Inc. (“Trillium”);

Agate Resources, Inc. (“Agate”); and Lane Individual Practice Association, Inc. (“LIPA,”

collectively “Defendants”) filed a Motion to Enforce Protective Order, (Dkt. 91), seeking the

  Page 1      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
             Case 6:14-cv-01424-MC      Document 97       Filed 01/29/21     Page 2 of 8




return or destruction of all documents designated as CONFIDENTIAL under the Protective

Order entered in this case, (Dkt. 57), including all of Defendants’ documents that Relator

retained upon his termination.

         On or about January 17, 2021, relator Michael T. Brooks (“Relator”) filed several

documents in response, including a “Reply and Rebuttal, Defense Demand to Enforce Protective

Order” (the “Reply”) and a “Motion to Seal Exhibits 1 and 2” to the Reply (“Relator’s Motion to

Seal”), which also purports to include a (1) “Motion for New Trial Under FRCP 60,” (2)

“Motion to Dismiss and Sanction Stoel Rives,” and (3) “Motion to Order a Federal Investigation

for Criminal Misconduct by Defense and the Court.” 1

         Defendants do not oppose Relator’s Motion to Seal, as it is sought to prevent the

disclosure of protected health information (“PHI”) pursuant to the Health Insurance Portability

and Accountability Act of 1996, as amended (“HIPAA”). Defendants oppose the other motions

for the reasons discussed below.

                 II. RELATOR’S MOTION TO SEAL SHOULD BE GRANTED.

         Exhibits 1 and 2 to Relator’s Reply (the “Exhibits”) contain records of HIV-positive

patients and what purport to be Medicaid billing records, respectively, both of which contain

information identifying patients by name or member number. Although Defendants dispute most

of the allegations in Relator’s Motion to Seal, they agree that these exhibits contain PHI, and

preventing disclosure of PHI is sufficient grounds for filing these documents under seal.

         A party seeking to seal a judicial record must typically overcome the “strong

presumption” in favor of public access by meeting the “compelling reasons” standard, which



         1
          Defendants do not include citations to the docket because Relator’s filings have not yet
been listed as of the date of filing.
  Page 2      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
           Case 6:14-cv-01424-MC         Document 97       Filed 01/29/21     Page 3 of 8




allows a record to be sealed only when the Court finds “a compelling reason and articulate[s] the

factual basis for its ruling, without relying on hypothesis or conjecture.” Ctr. for Auto Safety v.

Chrysler Grp., LLC, 809 F.3d 1092, 1096–97 (9th Cir. 2016) (quoting Kamakana v. City &

County of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006)). The Court must then

“conscientiously balance[ ] the competing interests of the public and the party who seeks to keep

certain judicial records secret.” Id. at 1097 (quoting Kamakana, 447 F.3d at 1178).

         An exception exists, however, “for sealed materials attached to a discovery motion

unrelated to the merits of a case.” Id. (citing Phillips ex rel. Estates of Byrd v. Gen. Motors

Corp., 307 F.3d 1206, 1213–14 (9th Cir. 2002)). Under this exception, a party need only show

“good cause,” as directed by Federal Rule of Civil Procedure 26(c)(1), which relates to

protective orders. Id. (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th

Cir. 2003)). “When deciding what test to apply to a motion to unseal a particular court filing—

the presumptive ‘compelling reasons’ standard or the ‘good cause’ exception—[courts] have

sometimes deployed the terms ‘dispositive’ and ‘non-dispositive,’” depending “on whether the

motion at issue is more than tangentially related to the underlying cause of action.” Id. at 1098-

99.

         The Court should apply the “good cause” standard here because the Exhibits are attached

to a discovery motion response that was filed years after the case was dismissed with prejudice.

But regardless of which standard the Court applies, the Exhibits should be sealed.

A.       Preventing Disclosure of HIPAA Protected Health Information Constitutes Good
         Cause to Seal the Exhibits.

         To safeguard the privacy of patients, HIPAA supplies a compelling reason to seal the

information in the Exhibits. See Pub. L. No. 104-191, 110 Stat. 1936 (1996); 45 C.F.R. pts. 160,

162, 164. Except as specifically authorized by regulation, any public disclosure of PHI by a

  Page 3      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
           Case 6:14-cv-01424-MC          Document 97       Filed 01/29/21      Page 4 of 8




covered entity is prohibited by HIPAA and its implementing regulations. 45 C.F.R. §

164.502(a). Courts in this circuit have filed documents under seal on the grounds that protection

of protected health information constitutes good cause. Ennis v. Aetna Life Ins. Co., No. 3:18-

CV-01617-WHO, 2018 WL 4636197, at *4 (N.D. Cal. Sept. 24, 2018).

           Here, the information that Relator discloses in the Exhibits appears to be PHI for the

following reasons. First, the information—as described by Relator—appears to constitute

“health information.” Under HIPAA, “health information” is information that (1) is created or

received by a health care provider, health plan, or certain other entities, and (2) relates to the

past, present, or future physical or mental health or condition of an individual, the provision of

health care to an individual, or the past, present, or future payment for the provision of health

care to an individual. 45 C.F.R. § 160.103. Here, according to Relator, Exhibit 1 shows a list of

persons who have been diagnosed with HIV or AIDS, and Exhibit 2 contains records of medical

procedures billed to Medicaid. Both Exhibits therefore appear to contain “health information”

for purposes of HIPAA.

         Second, the health information as described by Relator is “individually identifiable health

information.” That term includes health information “with respect to which there is a reasonable

basis to believe that the information can be used to identify the individual.” 42 U.S.C. §

1320d(6); 45 C.F.R. § 160.103. Here, Exhibit 1 identifies patients by name, and Exhibit 2 lists

Member ID numbers that could identify the patients. As a result, both Exhibits appear to contain

“individually identifiable health information.”

         Third, all “individually identifiable health information” transmitted or maintained in any

form or medium is “protected health information” unless a regulatory exception applies. 45

C.F.R. § 160.103. It does not appear that any of the exceptions are applicable here.


  Page 4      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
           Case 6:14-cv-01424-MC         Document 97       Filed 01/29/21    Page 5 of 8




         In sum, the information in the Exhibits appears to be protected health information that

Congress sought to ensure would remain confidential to protect patient privacy. The serious

infringement of these patients’ privacy that would result if the Exhibits were to be made public

strongly supports sealing them.

B.       Alternatively, Compelling Reasons Exist to Seal the Exhibits.

         Even if the Court applies the more rigorous “compelling reasons” standard, it should

nonetheless order the Exhibits to be filed under seal. “The need to protect medical privacy

qualifies in general as a ‘compelling reason.’” Karpenski v. Am. Gen. Life Companies, LLC, No.

2:12-CV-01569RSM, 2013 WL 5588312, at *1 (W.D. Wash. Oct. 9, 2013) (quoting G. v.

Hawaii, 2010 WL 2607483 (D. Haw. 2010)). As discussed above, the Exhibits contain what

appears to be HIPAA-protected health information, and disclosing it would provide no public

benefit and would violate this Court’s Protective Order.

         1.       The Public Would Gain Nothing by Disclosure of the Health Information.

         There would be no public benefit from disclosing the health information of these patients.

The particular details of the individuals’ personal lives and medical care are not germane in any

way to Relator’s obligation to comply with the Protective Order. Thus, public disclosure of the

information would not lead to even an incremental improvement in the public’s understanding of

this Court’s disposition of Defendants’ Motion to Enforce Protective Order. Rather, the

information would serve only to “promote public scandal” and reveal the “painful” details of

third parties’ personal lives and health. Nixon v. Warner Commnc’ns, Inc., 435 U.S. 589, 598,

98 S. Ct. 1306, 55 L. Ed. 2d 570 (1978) (internal quotation marks and citation omitted).

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  Page 5      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
           Case 6:14-cv-01424-MC         Document 97       Filed 01/29/21     Page 6 of 8




         2.       Public Disclosure of the Information by Relator Could Violate the Protective
                  Order Entered in This Case.

         Relator suggests that he obtained the information in the Exhibits through his former

position as a data warehouse administrator at Agate. (Reply at 13 (“Brooks had one spreadsheet

of 235 patients with positive HIV lab test results [Exhibit 1] that Agate obtained from Oregon . .

. .”).) If those records and the information therein were obtained by Relator from or in

connection with his employment at Agate, the information is subject to the Protective Order and

“shall be deemed Confidential” pursuant to that order. (Dkt. 57 ¶ 3.) Any disclosure of it to the

general public by Relator would violate the Order. (Id. ¶ 8.)

         For these reasons, Defendants respectfully request that the Court file Exhibits 1 and 2 to

Relator’s Reply under seal.

         III. ALL OF RELATOR’S REMAINING MOTIONS SHOULD BE DENIED.

         In addition to his Motion to Seal, Relator seeks numerous other forms of relief based on

alleged misconduct by defense counsel and the Court, including “disqualification of Stoel Rives,

sanctions of defense for misleading the Court, . . . [and] a new trial in a new venue under FRCP

60(3).” All of these requests should be rejected out of hand.

         First, these motions violate Local Rule 7-1(b) which requires all motions to be stated

separately. Second, this Court no longer has jurisdiction over the merits of this case. The Court

entered a Judgment dismissing the case with prejudice on June 28, 2017 (Dkt. 84), and the Ninth

Circuit dismissed Relator’s appeal on June 6, 2018 (Case No. 17-35620, Dkt. 23). The Court has

jurisdiction to hear Defendants’ Motion to Enforce Protective Order only because the Court

expressly retained such jurisdiction in the terms of the Protective Order. (Dkt. 57 ¶ 19.)

         Finally, the relief requested is not available because Relator’s motions are untimely.

Federal Rule of Civil Procedure 60(c)(1) provides that “[a] motion under Rule 60(b) must be

  Page 6      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
           Case 6:14-cv-01424-MC        Document 97       Filed 01/29/21      Page 7 of 8




made within a reasonable time—and for reasons (1), (2), and (3) no more than a year after the

entry of the judgment or order or the date of the proceeding.” Rule 60(b)(3) addresses motions

for relief from a judgment based on “fraud . . . , misrepresentation, or misconduct by an opposing

party,” and any motion under that rule therefore must be filed within a year of entry of judgment.

Final judgment was entered in this case on June 28, 2017. (Dkt. 84.) Plaintiffs’ motions (other

than his Motion to Seal) have been time-barred for more than two years.

                                       IV. CONCLUSION

         For the reasons above, Defendants respectfully request that the Court grant Relator’s

Motion to Seal Exhibits 1 and 2 and deny all of Relator’s other motions.

           DATED: January 29, 2021.
                                                   STOEL RIVES LLP



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  Page 7      - DEFENDANTS’ COMBINED RESPONSE TO RELATOR’S MOTION TO
                SEAL, MOTION FOR NEW TRIAL, MOTION TO DISQUALIFY DEFENSE
                COUNSEL, AND MOTION TO ORDER FEDERAL INVESTIGATION
109603357.1 0061542-00017
           Case 6:14-cv-01424-MC        Document 97       Filed 01/29/21     Page 8 of 8




                                CERTIFICATE OF SERVICE

         I hereby certify that I served the foregoing DEFENDANTS’ COMBINED RESPONSE

TO RELATOR’S MOTION TO SEAL, MOTION FOR NEW TRIAL, MOTION TO

DISQUALIFY DEFENSE COUNSEL, AND MOTION TO ORDER FEDERAL

INVESTIGATION on the following named person(s) on the date indicated below by:

          mailing with postage prepaid

          overnight delivery

          email

          notice of electronic filing using the Cm/ECF system

to said person(s) a true copy thereof, contained in a sealed envelope, addressed to said person(s)

at his or her last-known address(es) indicated below.

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         Plaintiff Pro Se


         DATED: January 29, 2021.

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  Page 1      - CERTIFICATE OF SERVICE


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